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EDWARD GROSS

 

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December 28, 2015
FOR SETTLEMENT PURPOSES ONLY

Thomas F. Hennessy

Virginia Employment and Family Law Office
4015 Chain Bridge Road, Suite 6

Fairfax, Virginia 22030

RE: Fuentes, et. al. v. Presidential Detailing, LLC, et. al.
United States District Court, Eastern District of Virginia
Case No. 1:15-cv-1337-AJT-IDD

Dear Mr. Hennessy,

My client again renews his offer of judgment pursuant to Rule 68 of the
Federal Rules of Civil Procedure. Your clients may take a judgment against my
clients for the total sum of $187,419.84 plus all reasonable costs actually accrued to
date (utilizing the Loadstar method). Pursuant to Rule 68 of the Federal Rules of Civil
Procedure, this letter constitutes a formal offer of judgment. Entry of such judgment
would constitute full and complete satisfaction and final disposition of Plaintiffs’ claims,
including all compensatory damages, liquidated damages, costs and attorney fees accrued
to date. Please be advised that, if, within fourteen (14) days after service of this Offer of
Judgment, the Plaintiffs fail to provide written notice of acceptance of this Offer, then
this Offer shall be deemed withdrawn in accordance with Rule 68. In further accordance
with said Rule, the Offer shall not be disclosed to the jury and evidence thereof shall not
be admissible. If this action proceeds to trial and the judgment finally obtained by the
Plaintiff is not more favorable than the Offer hereby made by the Defendants, the
Plaintiffs must pay to the Defendants all costs of defense (include attorney fees) incurred
after the making of this Offer, as provided under Rule 68. Acceptance of this Offer shall
operate to fully and completely extinguish any and all claims by the Plaintiffs in this
action, with prejudice. Furthermore, this offer is expressly conditioned upon dismissal of
all the Dealership parties prior to service.

Please contact me if you would like to discuss this matter.

 
